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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CRIMINAL NO. 1:20-cr-00278-TNM
                v.                             :
                                               :
KEITH BERMAN,                                  :       Filed Under Seal
                                               :
                       Defendant.              :


       GOVERNMENT’S MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

         The United States of America, through undersigned counsel, respectfully submits this

motion for leave to file a document under seal. The government attaches here, as Exhibit 1, its

sealed response in opposition to defendant Keith Berman’s letter motion for discovery (Dkt. No.

24).    The government proposes to file this response under seal, since it “is in connection with a

grand jury subpoena.” See Local Criminal Rule 6.1 (“A motion or application filed in connection

with a grand jury subpoena or other matter occurring before a grand jury, all other papers filed in

support of or in opposition to such a motion or application, and all orders entered by the Court in

connection therewith, shall be filed under seal.”). While the defendant’s motion does not directly

deal with a pending grand jury matter, out of an abundance of caution, the government respectfully

requests leave of court to file its response under seal.



                                               Respectfully submitted,

                                               JOSEPH S. BEEMSTERBOER
                                               Acting Chief, Fraud Section
                                               Criminal Division

                                       By:     /s/ Justin Weitz
                                               Christopher Fenton

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                              CERTIFICATE OF SERVICE

       I certify that on June 27, 2021, I filed a true and correct copy of the foregoing with
the Clerk of Court via ECF.

                                                  /s/ Justin Weitz




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